 1   Law Offices of Travis Gagnier, Inc., P.S.                Honorable Timothy Dore
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 2   P.O. Box 3949
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 6                             IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE WESTERN DISTRICT OF WASHINGTON
 7

 8   STENSGAARD, Lisa Marie,                              Number 19-11116
 9   Debtor.                                              Adversary Number: 23-
     _______________________________
10   STENSGAARD, Lisa Marie,                              COMPLAINT TO DETERMINE
                                                          DISCHARGEABILTY OF STUDENT
11   Plaintiff,                                           LOANS

12   v.

13   UNITED STATES OF AMERICA
     ACTING THOUGH THE U.S.
14   DEPARTMENT OF EDUCATION,
     Defendant.
15
              Lisa Marie Stensgaard, the Debtor (hereinafter “Plaintiff”) allege as follows:
16
                                               A. Jurisdiction
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           1. That this Court has jurisdiction over this proceeding pursuant to 28 U.S.C. 1334 & 28
18
     U.S.C. 157(b)(2)(G). This matter relates to a case under Title 11 of the United States Code.
19
     This proceeding is defined as a “core proceeding” as that is defined in the Code. Plaintiff
20
     consents to entry of final orders or judgment by the bankruptcy court in this adversary
21
     proceeding.
22
                                                 B. History
23
           2. Plaintiff filed her Chapter 13 Bankruptcy Proceeding in the United States bankruptcy
24
     court for the Western District of Washington on March 28, 2019 under case number 19-
25
     11116.
26   COMPLAINT - 1                                                  Law Offices of Travis Gagnier, Inc., P.S
                                                                      33507 Ninth Avenue South, Bldg. F
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 1       3. That this Court upon the filing of the Petition duly entered an Order for Relief under

 2   the provisions of the Bankruptcy Code.

 3       4. That Jason Wilson-Aguilar was appointed the chapter 13 Trustee in the Stensgaard

 4   Chapter 13 case and serves in that capacity in this case.

 5                                       C. Facts and Allegations

 6       5. That pursuant to 11 USC § 523(a)(8) educational benefit overpayment or loan made,

 7   insured, or guaranteed by a governmental unit, or made under any program funded in whole

 8   or in part by a governmental unit or nonprofit institution; or an obligation to repay funds

 9   received as an educational benefit, scholarship, or stipend; or any other educational loan that

10   is a qualified education loan, as defined in section 221(d)(1) of the Internal Revenue Code of

11   1986, incurred by a debtor who is an individual are nondischargeable unless excepting the

12   debt from discharge would impose an undue hardship on the debtor or the debtor’s

13   dependents. United Student Aid Funds, Inc. v. Espinosa, 559 U.S. 260, 278 (2010) (“the

14   bankruptcy court must make an independent determination of undue hardship . . . even if the

15   creditor fails to object or appear in the adversary proceeding.”). This inquiry is undertaken

16   through a formal adversary proceeding in the bankruptcy court. United Student Aid Funds, 559

17   U.S. at 263-64; Fed. R. Bankr. P. 7001(6).

18       6. That on the 31st day of January 2023, Defendant, United States of America acting

19   through the U.S. Department of Education filed an amended proof of claim which as been

20   docket as claim no 13 in the amount of $122,003.26. Defendant, United States of America

21   acting through the U.S. Department of Education, has designated this proof of claim as a

22   claim arising out of student loans owed by Plaintiff.

23       7. That Plaintiff believes and alleges that the repayment of student loans to Defendant

24   would impose an undue hardship on Plaintiff.

25

26   COMPLAINT - 2                                                  Law Offices of Travis Gagnier, Inc., P.S
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 1          8. That on or about the 17th day of November 2022 The Department Justice issued

 2   Guidance for Department of Justice Attorneys in regards to Student Loan Bankruptcy

 3   Litigation which Plaintiff is requesting the Defendant utilize in evaluating whether Plaintiff’s

 4   student loans should be discharged. Plaintiff acknowledges that the Guidance Memorandum is

 5   an internal Department of Justice policy directed at Department components and employees and

 6   it is not intended to and does not create any rights, substantive or procedural, enforceable at law

 7   by any party in any matter.

 8          9. Plaintiff requests that upon receipt of this Complaint that Defendant will provide

 9   Plaintiff’s attorney with the record of Plaintiff’s account history, loan details, and, where

10   available, educational history.

11          10. Upon receipt of the information from Defendant as to Plaintiff’s student loans,

12   Plaintiff will prepare and file in this adversary proceeding an Attestation (as prescribed by

13   the Department of Justice) in order to assist Defendant in stipulating to facts demonstrating

14   that the debts would impose an undue hardship on the Plaintiff and recommend to the Court

15   that Plaintiff’s students loan be discharged if three conditions are satisfied: (1) Plaintiff

16   presently lacks an ability to repay the loan; (2) Plaintiff’s inability to pay the loan is likely to

17   persist in the future; and (3) Plaintiff has acted in good faith in the past in attempting to repay

18   the loan.

19          11. Upon receipt of Plaintiff’s Attestation Plaintiff requests that Defendant stipulate to facts

20   demonstrating that a debt would impose an undue hardship and recommend to this Court that

21   Plaintiff’s student loan be discharged
                                              D. Request for Relief
22

23          WHEREFORE, Plaintiff respectfully requests the entry of a judgment declaring the debts

24   owed Defendant to be dischargeable debts and such other and further relief as the Court.
     ///
25
     ///
26   COMPLAINT - 3                                                    Law Offices of Travis Gagnier, Inc., P.S
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 1                                      Dated this 2 day of February 2023.
                                                    nd




 2                                      Law Offices of Travis Gagnier, Inc., P.S.
                                        Attorneys for Plaintiff
 3

 4                                      /s/ Travis A. Gagnier
                                        Travis A. Gagnier, WSBA #26379
 5
                                        Gregory Jalbert, WSBA #9480
 6                                      Of Counsel

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26   COMPLAINT - 4                                       Law Offices of Travis Gagnier, Inc., P.S
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